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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


MATTHEW SIMMONS, SHEILA
MURRAY, JACK MITCHELL,
JACKIE RODRIGUEZ, MADISON
LIEFFORT, and EMILY CARTER,

      Plaintiffs,                            CASE NO. 8:23-cv-201-TPB-AAS

vs.

USI INSURANCE SERVICES, LLC, a
foreign limited liability company and
USI ADVANTAGE CORP., a foreign
corporation,

      Defendants.
___________________________________/

USI INSURANCE SERVICES LLC,

      Counter-Plaintiff,
vs.

MATTHEW SIMMONS, JACK MITCHELL
and SOUTHEAST SERIES OF LOCKTON
COMPANIES, LLC,

      Counter-Defendants.
_________________________________________/

      ORDER GRANTING IN PART AND DENYING IN PART WITHOUT
           PREJUDICE USI’S MOTION TO HAVE THE FINAL
             JUDGMENT INCLUDE PUNITIVE DAMAGES

      This matter is before the Court on “USI Insurance Services, LLC’s Motion to

Have the Final Judgment Include Punitive Damages,” filed on January 16, 2024.

(Doc. 158). Counterdefendants filed a response in opposition on January 20, 2024.

(Doc. 173).

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       USI seeks a ruling that its failure to specifically include a prayer for punitive

damages in its counterclaim does not preclude USI from seeking punitive damages

at trial. The Court agrees with USI that a specific prayer for punitive damages is

not necessary. See Scutieri v. Paige, 808 F.2d 785 (11th Cir. 1987). In Scutieri, the

Eleventh Circuit noted that under Rule 54(c), “every final judgment shall grant the

relief to which the party in whose favor it is rendered is entitled, even if the party

has not demanded such relief in his pleadings.” Id. at 792. Accordingly, Scutieri

held “[i]f the complaint alleges conduct that would support a claim for punitive

damages, and if evidence is presented creating a jury question on such relief, the

judge commits reversible error in not instructing on that issue.” Id.

       Although the better practice under the federal rules would have been to make

a specific request for the award of punitive damages, USI’s counterclaim is

sufficient under the standard set forth in Scutieri. 1 The counterclaim alleges

tortious interference, breach of fiduciary duty, aiding and abetting a breach of

fiduciary duty, and conspiracy, all intentional torts. It also alleges that “[t]he

Departing Producers’ breach of the Agreements, in concert with Lockton, was

willful, malicious, and undertaken in bad faith.” (Doc. 3 at ¶ 68). While a “willful”

and “malicious” breach of contract is simply a breach of contract, USI incorporates

this allegation of willfulness and malice by reference into each of the intentional

tort counts. In addition, in Count IV, asserting tortious interference on the part of



1 This contrasts with the practice in Florida state courts, where a plaintiff is not permitted

to include a request for punitive damages in the complaint without first seeking leave of
court. See § 768.72(1), F.S.

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Lockton, USI alleges that Lockton knew about Simmons and Mitchell’s contractual

obligations and “willfully engaged in wrongful conduct” to induce them to breach

their obligations to USI. (Id. at ¶ 83). Count VI, asserting a claim for conspiracy,

alleges that Simmons, Mitchell, and Lockton acted “with malice and intent to

deprive USI of its lawful interest in its various agreements and to significantly

cause USI financial damage.” (Id. at ¶ 89). Under the rule stated in Scutieri, the

counterclaim is sufficient to allow USI to seek punitive damages at trial.

      Counterdefendants attempt to distinguish Scutieri on its facts because the

allegations of the complaint in that case expressly referenced “punitive damages”

even if the prayer for relief did not. That is true but irrelevant because the rule of

law stated by Scutieri focuses on whether the facts pleaded make out a case for

punitive damages, not on whether the specific words “punitive damages” are found

somewhere in the complaint. Counterdefendants also cite the unreported decision

in AMG Trade & Distribution, LLC v. Nissan N. Am., Inc., 813 F. App’x 403, 409

(11th Cir. 2020), but that case addressed only whether the district court abused its

discretion in denying a motion for leave to amend to add punitive damages under

the “good cause” standard of Rule 16(b). It did not discuss Scutieri or whether the

requested amendment was required in the first place. Disallowing an amendment

does not necessarily entail disallowing punitive damages. See Harris v. Wingo, No.

2:18-cv-17-FtM-29MRM, 2021 WL 7501793, at *2 (M.D. Fla. Oct. 19, 2021) (holding

that the plaintiff failed to show good cause for amendment to add punitive damages




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but that such an amendment would be unnecessary because the complaint alleged

behavior that could be characterized as “malicious, wanton, and willful conduct.”)

       Counterdefendants argue they will be prejudiced if the Court allows USI to

pursue punitive damages, because it would “belatedly open a whole new front of

litigation—and without giving Counter-Defendants enough time to defend it.”

However, they point to no specifics to support this broad assertion. They note that

discovery is now closed and no one took discovery on punitive damages but fail to

explain what discovery they would have sought had the complaint expressly

referred to “punitive damages.” Accordingly, the Court declines to rule out punitive

damages at trial based on Counterdefendants’ procedural arguments.

      To the extent USI seeks a ruling that the issue of punitive damages will be

submitted to the jury, it is denied without prejudice as premature. While USI’s

punitive damage claim is not procedurally barred, it remains to be seen what

evidence will be presented at trial. Without prejudging the issue, the Court notes

that under Florida law, making out a jury case on punitive damages “is an

extraordinarily high bar” to meet. Nunez v. Coloplast Corp., 461 F. Supp. 3d 1260,

1269 (S.D. Fla. 2020). Proof that a defendant committed an intentional tort is not

by itself sufficient. Bistline v. Rogers, 215 So. 3d 607, 609-11 (Fla. 4th DCA 2017).

The conduct shown must not only be intentional, but “egregious and sufficiently

reprehensible to rise to the level of truly culpable behavior deserving of

punishment.” Id. at 609. Moreover, under § 768.72(2), F.S., the requisite showing

must be made by clear and convincing evidence. This standard requires that the



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“evidence must be credible; the memories of the witnesses must be clear and

without confusion; and the sum total of the evidence must be of sufficient weight to

convince the trier of fact without hesitancy.” Davis v. Little Giant Ladder Sys.,

LLC, No. 2:19-cv-780-SPC-NPM, 2022 WL 657062, at *8 (M.D. Fla. Mar. 4, 2022)

(quoting Owens-Corning Fiberglas Corp. v. Ballard, 749 So. 2d 483, 486 n.4 (Fla.

1999)). The weight of the evidence must be such that “it produces in the mind of the

trier of fact a firm belief or conviction, without hesitancy, as to the truth of the

allegations sought to be established.” Slomowitz v. Walker, 429 So. 2d 797, 800

(Fla. 4th DCA 1983).

      Accordingly, it is

      ORDERED, ADJUDGED, and DECREED that:

      1.      “USI Insurance Services, LLC’s Motion to Have the Final Judgment

Include Punitive Damages” (Doc. 158) is GRANTED IN PART and DENIED IN

PART WITHOUT PREJUDICE, as set forth herein.

      DONE and ORDERED in Chambers in Tampa, Florida, this 18th day of

June, 2024.




                                         __________________________________________
                                         TOM BARBER
                                         UNITED STATES DISTRICT JUDGE




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